                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF WISCONSIN


         UNITED STATES OF AMERICA                                     INITIAL APPEARANCE
                                                                       ON RULE 5 HEARING
                           v.

               DAMIAN JOHNSTON                                           Case No. 24-M-680


 HONORABLE JAMES R. SICKEL, presiding                             Hearing Began: 11:41 a.m.
 Deputy Clerk: Joleen                                             Hearing Ended: 11:54 a.m.
 Hearing Held: September 26, 2024                                 Tape Number: 092624

 Appearances:
 UNITED STATES OF AMERICA by                                      Alexander Duros
 DAMIAN JOHNSTON by:                                              Krista A. Halla-Valdes
                                                                  ☒ FDS ☐ CJA ☐ RET
 U.S. PROBATION OFFICE by:                                        Amy Kosmoski

 Defendant appears in person.

 ☒ Defendant advised of rights
 ☒ Court orders counsel appointed
 ☒ Copy of ☒ complaint ☐ indictment received by Defendant;
   ☐ document read; ☒ further reading waived
 ☒ Defendant advised of charges, penalties and fines

 ☒ Defendant waives Identity Hearing
 ☒ Defendant waives Preliminary Hearing
 ☐ Defendant to be transported by the U.S. Marshal to District of Columbia
   SEE Commitment Order
 ☒ Defendant to be released on O/R bond to appear, via zoom District of Columbia on
    October 10, 2024, at 12:30 p.m. (ET). Zoom information provided to defendant in court.
   SEE Order Setting Conditions of Release

Mr. Johnston is considering retaining counsel and has not been able to do so at this time.
Mr. Duros advises the defendant of the maximum penalties:
Cts. 1 & 2: 1 yr; Probation: 5 yrs; Fine: $100,000; SA: $25
Cts. 3 & 4: 6 mos; Probation: 5 yrs; Fine: $100,000; SA: $25
The court accepts the Waiver of the Identity Hearing and Preliminary Hearing.
The court is in receipt of the Pretrial Services Report that recommends released on recognizance bond with
conditions.
The parties are in agreement with the recommendation.



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